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                                         UNITED STATES DISTRICT COURT
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                                                 xo.t -m '- .5          - Lota/b
7            UNITED STATES OF AM ERICA
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)            v.
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)
             JEREM IAH HORENSTEIN,
i                  a/k/a Rlerem iah B row n,''
)                  a/k/a dtlerm srown-',
)                  a/k/a usean s row n,'
                                       '.and
)
è
             RACQUEL LAVETTE BIJOU,
,
)
)                  Defendants.
L                                                                         /
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                                    CRIM INAL COM PLAINT COVER SHEET
E             1.   Didthism atteroriginate from am atterpending inthe CentralRegion oftheUnited States
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;
                   Attorney'sOfticepriortoAugust9,2013 (M ag.JudgeAliciaValle)?              Yes X-No
                                                                                         ''''''
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)             2.   Didthism atteroriginatefrom am atterpendingin theNorthernRegion oftheUnited States
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;                  Attorney'sOfticepriortoAugust8,2014(M ag.JudgeShaniekM aynard)? Yes X-No
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                                                          DANIEL CERVAN TES
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(                                                         M iami,Florida 33132-2111
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  Case 1:19-cr-20535-BB Document 1 Entered on FLSD Docket 08/19/2019 Page 2 of 24


AO 91(Rev.08/09) CriminalComplaint

                                 U NITED STATES D ISTRICT COURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica
                            V.
             JEREM IAH HO RENSTEIN,
                                                                     casexo.Ij -knsy--o $5 l-?- Lotaido
              a/k/a 'Jeremiah Brown,''
  a/k/a ''
         Jerm Brow n,''and a/k/a 'Sean BrownI'and
            I
            RACQUEL LAVETTE BIJOU,
                      Defendantls)

                                             CRIM INAL COM PLAINT

         1,the complainantin thiscase,statethatthe follow ing istrueto thebestofmy knowledge and belief.
On oraboutthedatets)      May13,2019,toJune7,2019 inthecountyof                             Miami
                                                                                                -Dade            inthe
    Southern    Districtof      Florida      ,thedefendantts)violated:
           CodeSection                                                OxenseDescrlption
18U.S.C.j 1591(a)(I),(b)(I),(b)(2)      Sex trafticking ofchildren
and(c)




         Thiscriminalcom plaintisbased onthesefacts'
                                                   .
Please seeattached affidavi
                          t.




         W Continuedontheattachedsheet.


                                                                                    Complainant'
                                                                                               ssignature

                                                                                   S.A.Alex G.Loft FBl
                                                                                     Printed nameand title

Sworn to before meand signed in my presence.


D ate:
                                                                                      Judge'
                                                                                           ssi
                                                                                             gnature

City and state'
              .                                                        United States M agistrate Judge Lauren F.Louis
                                                                                     Printednameandtitle
Case 1:19-cr-20535-BB Document 1 Entered on FLSD Docket 08/19/2019 Page 3 of 24



                             A FFIDA V IT IN SUPPO RT O F
                   AN A PPLICA TIO N FO R A C RIM IN AL CO M PLA IN T

        1,A lex G .Loff,having been duly sw orn,hereby depose and state:

                      IN TR O D UC TIO N AN D A G EN T BA CK G R O U N D

               lam a SpecialAgentwith theFederalBureau ofInvestigation (tTBI''),and have
 been so employed since M arch 2018. Thus,1am an investigative or1aw enforcem entofficerof

 theUnited StateswithinthemeaningofSection251047)ofTitle 18,United StatesCode.Thatis,
 l am an officer ofthe U nited States who is em pow ered by law to conductinvestigations of,and

 m ake arrests for,violations offederallaw ,including the offenses enum erated in Title 18,United

 States Code,Sections 1591,2422,2423,2251,and 2252,etseq.

        2.     1 currently serve as partofthe Crim es A gainst Children squad and the FBI Child

 ExploitationandHumanTraffickingTaskForce(CEHTTF)intheFB1'sM inmiFieldOftice.My
 duties include the investigation of crim es involving the sexualexploitation of m inors,including

 the sex trafficking and com m ercialtrafficking of m inors and the possession and production of

 child pom ography. I have received training on the proper investigative techniques for these

 violations,including the use ofsurveillance techniques,undercoveractivities,and the application

 and execution of arrest and search warrants. 1 have conducted and assisted in several child

 exploitation investigations and have executed search w arrants thathave 1ed to seizures of child

 pornographyandlmdercoveroperationstorecoverjuvenilevictimsofsextrafficking.
               Thisaffidavitissubm itted in supportofa crim inalcom plaintcharging thatfrom on

 oraboutM ay 13,2019,to June 7,2019,in M iam i-Dade County,in the Southern D istrictofFlorida,

 the defendants,

               JEREM IAH HO REN STEIN ,a/k/a kélerem iah Brow n,''a/k/a ttlerm Brow n,''and

               a/k/a tssean Brown''7
                                   'and
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                 RACQUEL LAVETTE BIJOU;
 didknowingly,in and affecting interstateand foreign comm erce, recruit,entice,harbor,transport,

 provide,obtain,m aintain,patronize,and solicitby any m eansaperson, thatis,M IN O R V ICTIM ,

 knowing,and inrecklessdisregardofthefact,and havinghadareasonableopportunityto observe

 M IN OR V ICTIM ,thatm eansofforce,threatsofforee,and coercion, and any com bination ofsuch

 m eans,w ould be used to cause M IN OR V ICTIM to engage in a com m ercialsex act, and M INO R

 VICTIM had notattainedthe ageof14 yearsand would becaused to engagein aeomm ercialsex

 act,in violation ofTitle 18,United States Code, Sections1591(a)(l),(b)(l),(b)(2)and(Q.

                 The statem ents contained in this affidavit are based upon my own personal

 know ledge,as wellasinform ation provided by otherindividuals, including other1aw enforcement

 officials,and my review ofrecords obtained during the course ofthisinvestigation. I have not

 ineluded in this affidavit each and every facf and circum stance know n to m e, but only the facts

 and cireum stances sufficientto establish probable cause forthe issuance ofa search warrantas

 requested herein.

           II. PR O BA BLE CA U SE

              a. Introduction

                 Thiscaseinvolvesthe sex trafficking ofa l3-yearo1d femalejuvenilerunaway
 (M INOR VICTIM ).DefendantHORENSTEIN isbelievedtobetheleader/pimpinthetrafficking
 ofM INOR VICTIM .DefendantBIJOU isbelievedtobethe(tbottom ,''which isafem aleappointed

 by the leader/pim p,in thiscase H OREN STEIN ,to w ork directly w ith the othertrafticking victim s,

 including supervision,collection ofm oney,posting ads, and reporting nzle violations,am ong other

 duties.




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              b. Background

        6.      OnFriday,June7,2019,theFederalBureauofInvestigation (FB1)wascontacted
 by a Child Protective Services lnvestigator from the Broward County Sherriffs Office,who

 indicated thata l3-yearold femalejuvenile nznaway (MW OR VICTIM )was a suspected sex
 trafticking victim ,based on a review of socialmedia postings,inform ation obtained from the

 M IN O R V ICTIM 'S relative, and the investigator's training. The M IN OR VICTIM 'S relative

 received a textm essage on Thursday,M ay 23,2019,from M INOR VICTIM utilizing thephone

 number(954)743-9766(M INOR VICTIM 'Sphone),whichstatedûûIfuckedsomanypeople.''The
 M INOR VICTIM 'Srelativealso providedcalldetailrecordsforphonenumber(954)743-9766,
 which indicated numeroustelephonic contactwith phone number (347)777-4143.The phone
 number(347) 777-4143 hasbeen associated with numerousprostitution advertisementsin the
 M iamiSection ofListcrawler.com .Listcrawlencom isawebsitecomm only known forpromoting

  and advertising com mercialsex acts.

                 Furtherinvestigation ofthese advertisem entsindicated numerousrelated adsinthe

  M iam i area w ith sim ilar photographs,descriptions,or language. O ne such advertisem entdated

  Monday,June10,2019,at10:10P.M .,withthelistedphonenumberof(786)306-3996advertised
  similarphotographsofa young whitefemale fitting the description oftheM INOR VICTIM . The

  FB1contacted M iami-DadePoliceDepartment(M DPD),whoassignedtheinvestigation to their
  SpecialV ictim 'sU nit.

         c. R ecovery ofM IN O R V ICTIM

         8.      On Tuesday,June 11, 2019, at 5:38 A .M ., a M DPD detective, w orking in an

  undercovercapacity,made contactvia textmessage to telephone number (786)306-3996,to
  arrangeaprostitution date.An unknown subjectreplied,ûûokayBabyHow Long You W antTo
Case 1:19-cr-20535-BB Document 1 Entered on FLSD Docket 08/19/2019 Page 6 of 24



 SeemeFor?''Thedetectiverequested anhour,to which the reply stated (t70/80ss1oohhr160 For

 two pops200 foran hr.'' Due to m y training and experience,thislanguage indicates pricesfor

 com mercialsex acts.Specifically,tû70/80ss''means$70to $80foratdshol'
                                                                     tstay'''
                                                                            7ûûlooh1a.
                                                                                     r''means

 $100forahalfhour;1$160Fortwopops''means$160 fortwoejaculations;and 1$200 foran11r5'
 m eans $200 for an hour.Furthertextconversations between the undercover detective and the

 subject1edtothedisclostlrethattheM INOR VICTIM waslocatedataresidenceinMiami,Florida
 (hereinafterreferredtoastû-l-hePremises'').
         9.     M DPD detectivesand m embersoftheCEHTTF established a surveillanceofThe

 Prem ises.A M DPD detective observed a white female m atching the description ofthe M INOR

 VICTIM exitThe Prem ises,and anotherM DPD detective verified thatthe fem ale m atched the

 description ofthe M INOR VICTIM .M em bersofM DPD and CEHTTF imm ediately approached

 The Prem ises,detained the fem ale,who was lateridentified to be the M INOR VICTIM ,on the

 frontlaw n and proceeded tow ards the residence to conducta security sweep ofThe Prem ises,to

 ensure no othervictim s were therein.

         10. Astheentrydoorwasapproached,itwasfoundtobeslightlyajar.W hilestanding
 atthe threshold,law enforcement observed a black male,wearing only urlzipped pants,was

  standing near the couch in the living room area,with a black fem ale sitting on the couch.

  appearedthatthefemalewasperfonningfellatioon themale.Bothsubjectswereordered toexit
  The Premises. Entry wasthen made into The Premises,where an additionalroom was located

  south of the entry door. O nce atthe doorw ay of the room ,detectives identitied them selves as

  lkpolice''and ordered an umobed black female,who washiding between thewalland thebed,to

  show herhands.A furthersearch ofthe bedroom revealed a bathroom ,in w hich a black m ale w as

  foundhiding intheshower,behindtheshowercurtain and wasnude.Both them aleand thefem ale
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 w ere secured and escorted outside ofThe Prem ises.D uring the security sw eep,1aw enforcem ent

 observed m ultiple electronic devices and condom wrappers scattered about The Prem ises.Law

 enforcementalsonotedastrong odorofmarijuanaemittingfrom withinThePremisesandwhile
 inside, law enforcem ent observed a round m etal grinder, which is com m only used to grind

 m ariJ'uana.

        d. lnterview sofM IN O R V ICTIM

        1l.     O n June 11,2019,m em bers ofthe CEHTTF,intelwiew ed M IN O R V ICTIM .The

 M IN O R V ICTIM stated she ran aw ay from hom e in Tam arac,Florida on the evening ofM ay 19

 and into M ay 20 because shew asbored. She spentseveraldaysw ith num erousdifferentunknow n

 individuals, at unknow n locations, and eventually m et an older black fem ale nnm ed Suprah.

 Suprah asked her if she wanted to m ake m oney.M IN O R V ICTIM responded Cthom ''and Suprah

 responded,ûçto sellyourpussy.'' M FN O R V ICTIM w as reluctantattirstbutSuprah persisted and

 convinced herto do a date w ith an oldergentlem an in hisfifties.The M IN OR VICTIM perfonned

 oralsex on him and had vaginalsex w ith him . A llof the m oney from this date w entto Suprah.

 D uring a second date,the M IN OR V ICTIM perform ed oralsex on a custom erand a11ofthem oney

 w entto Suprah once again. There w ere only tw o dates in total. Suprah attem pted to convince the

 M INO R V ICTIM to do m ore dates,butthe M IN OR V ICTIM told Suprah she had herm enstrual

 cycle. Suprah told her she could putw ipesin hervagina and stilldo dates. The M IN OR V ICTIM

 refused to do this.

        12.     The M INO R VICTIM identified Suprah as the larger black fem ale, who w as

 perfonning fellatio,located by M iam i-D ade Police and the CEHTTF on June 11,2019,at The

 Prem ises. Suprah w as later identitied by 1aw enforcem ent as Souprina Blanc, by an Illinois

 identitk ation card,w hich she provided.Suprah w as taken into custody and arrested.


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                     13.    M INOR VICTIM gave consentto search herApple iphone 8 plus,the resultsof

             which are described in pa14below.

                     14.    OnJune 18,2019,M INOR VICTIM wasinterviewed bym em bersoftheCEHTTF

;            at the D ade Juvenile D etention Center.The M IN OR V ICTIM stated she w as scared to speak to
(
             law enforcementduring thefirstinterview (referencingtheinterview on June1l,2019)because
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             she believed thatSuprah wasin the sam e building,in one ofthe nearby rooms,and wasafraid
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f            Suprah wouldhearwhatshewassaying.
S
E                    15.     The M IN OR V ICTIM stated thatshortly after rulm ing aw ay from hom e,she m et
)
:            RACQUEL LAVETTE BIJOU (-'BIJou'-)while staying ata friend'shouse.Bllou asked if
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             M INOR VICTIM wantedtomakemoneyandtoldhertocallwhen shewasreadytodoso.A few
1
y.           dayslater,M INOR VICTIM called BIJOU tostartm akingm oney.A review ofM INOR VICTIM ,s
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(            phoneshowsaphonecontactcreatedonMay13,2019,underthenameSçBijou''withphonenumber
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              786-870-2708CûB1JOU-2708) Subscriberrecordsfrom T-M obileshow thatthisphonenumberis
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.             subscribedtokçltacquelBijou.''
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l                    16.     M INOR VICTIM explained thatshe thought she was going to m ake money by
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'             helpingBIJOU with hertattoo work,butBIJOU told her'çyou'regonna sellyourpussy,''tiyou're
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              gonnabesuckingdick,''andSçyou'regolmabefuckingalot.''BIJOUtoldMINORVICTIM that
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              they would splitthe money 50/50 and instructed herto m akethe dtdates''feelvery comfortable.
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y             M INOR VICTIM wassupposed to startrubbing the datesto m ake surethey were notwearing a
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L             w ire and ask Cûw here are the roses,''in reference to the m oney. M IN O R V ICTIM w asthen supposed
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              to take the m oney and putitin the hotelroom safe.M IN OR V ICTIM stated thatshe engaged in
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)   '         sex asdirectedbeeauseshehadnomoney andnowheretogo.

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                          BIJOU told M IN OR V ICTIM to textB IJOU w ith the w ord,'çin''w ith the am ount

 of m oney collected from each date and then tsout'' w hen the date left.A review of M IN OR

 V ICTIM 'S phone conoborates M IN O R V ICTIM :

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           6/4/2019             7:49:00 PM                           BIJO U                   M IN O R V ICTIM                             ??
           6/4/2019             8:03:16 PM                      M IN O R V ICTIM                   B IJO U                                Out
           6/4/2019             8:39:29 PM                      M IN O R V ICTIM                   B IJO U                               ln 60
           6/4/2019             9:18:00 PM                      M IN O R V ICTIM                   B IJO U                              ln 120
           6/4/2019             9:25:53 PM                      M IN O R V ICTIM                   B IJO U                                O ut
           6/4/2019             9:40:52 PM                      M IN O R V ICTIM                   BIJO U                                ln 80
           6/4/2019             9:45:20 PM                      M IN O R V ICTIM                   BIJO U                                 O ut
           6/4/2019             9:45:26 PM                      M IN O R V ICTIM                   BIJO U                              In at940
           6/4/2019             9:45:39 PM                           B IJO U                  M IN OR V ICTIM                           Lm ao
           6/4/2019            10:12:32 PM                      M IN O R V ICTIM                   BIJOU                                 ln 80
           6/4/2019            10:16:38 PM                      M IN O R V ICTIM                   BIJOU                                  O ut
           6/4/2019            10                                                                                                   Ok going to buy
                                  :18:04 PM                         BIJOU                     M IN OR V ICTIM
                                                                                                                                       condom s
           6/4/2019            10:40:10 PM                      M W OR V ICTIM                         BIJOU                             ln 50
           6/4/2019            10:46:08 PM                      M W OR V ICTIM                         BIJOU                         Leaving now

                 18.     Based on m y training and experience,the acronym ûûlsm ao''m eans tûlaughing m y

 assoff.''A dditionally,Iknow ,based on m y training an experience,thatindividualsengaged in sex

 trafficking often tim esprovide condom sorsom e otherform ofbirth controlto the victim s.

                         M INO R V ICTIM further explained that BIJOU told M INO R V ICTIM to take

 picttlresofherselfso thatshe could send them to potentialclientsand said,Ctyou need to take these

 fucking pics,1need them to show people.''BIJOU told M IN O R V ICTIM they needed to be selfies

 so that they looked real. M IN OR V ICTIM sent the photos she took to both BIJOU and

 H OREN STEIN .

                 20.     A review ofM INO R V ICTIM 'Sphone show sthaton June 5,2019,at 1:04:36 PM ,

 MINOR VICTIM sent 8 selfie photographs to 772-672-9559 (HORENSTElN-9559). The
 photographs include pictures of M IN O R V ICTIM 'S chest w ith her nipple exposed,close ups of

                                                                                 7
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  her buttocks w earing only panties,and her genitalarea w earing only panties.These pictures can

  be found on num erous ads.These ads on w w w.listcraw ler.com are dated June 2,3,and 4 and on

  w w w .m egapersonals.com they are dated June 2,4,and 5.

                 H OREN STE1N -9559 issaved in M IN OR V ICTIM 'Sphoneunderthecontactnam e

  ttlerem ia-
            l
            -g-i.''Records from A pple show that an accountunder the nam e kllerem iah H orenstein''

  listsH OREN STElN -9559 asthe phone num berassociated w ith thataccount,asw ellasan address

  in M iamiand çjayracks6@icloud.com''as the email.Subscriber records from T-Mobile for
  H OREN STE1N -9559 show thatH OR EN STElN -9559 issubscribed to içsean Brow n''atthe sam e

  address listed w ith Apple.

         22. M INOR VICTIM said thatHORENSTEIN also EûsellsherLBIJOU'S)pussy too''
  and that at one point H OREN STEIN told M IN OR VICTIM ,tûl m ight have a few other bitches

  com e in''to do dates in the hotelroom .M IN OR V ICTIM m etone otherH ispanic girlw ho looked

  about 15 yearsold,w ho told M INO R V ICTIM thatshe had no otherw ay to m ake m oney.M IN OR

  V ICTIM did one date w ith this other girl.M IN O R V ICTIM also described one of the dates as

  being rough w ith herand slapped herw hile they w ere having sex.

                 M INO R V ICTIM stated thatshe did a few out-callsand forthose H OREN STEIN ,

  BIJOU,andSubject3wouldalldrivewith herin awhiteM ercedesBenzrental.HORENSTEIN
  and BIJOU started calling M FNOR VICTIM ûkbreadwilm er''because she was m aking them so

  m uch m oney.A review ofM IN OR V ICTIM 'Sphone show sthaton June 5,2019,at 1:13:09 PM ,

 the phone nlzm berH OREN STElN -9559 senta textm essage to M INO R V ICTIM stating,in part,

  ;tu know u a bread w innershe ain't.''

                M IN OR V ICTIM further stated that she told BIJO U thatshe w as 17 years old and

 BIJOU told M IN O R V ICTIM to tell everyone that she w as 21.H OR EN STEIN told M INO R


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  VICTIM thatsince M INOR VICTIM would be tunzing 18 soon,ûûthe charge wouldn'tbe that

  heavy.''

             25.     M IN OR V ICTIM stated thatBIJO U sentan Uberto pick up M IN OR V ICTIM .A

  review ofM INOR VICTIM 'SphonecorroboratesM IN OR VICTIM .On June4,2019,at4:08:57

  PM ,BIJOU texted M TNOR VICTIM to 1$Ca11me.''Twelve seconds later,at 4:09:09,BIJOU

  texted, $ûN Ow .''A t 4:10:16 PM , M TN OR V ICTIM sent her location to BIJOU , stating :û1735

  Lincoln st.''The follow ing conversation took place,w hich culm inated in B IJO U sending an U ber

  forM INO R V ICTIM .
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          6/4/2019        4:11:05 PM                BIJOU                  M INOR VICTIM                    Don'tmove
          6/4/2019        4:11:44 PM                BIJOU                  M W O R V ICTIM                   Yu ready ?
          6/4/2019        4:11:51 PM           M IN OR V ICTIM                 BIJOU                            Yea
          6/4/2019        4:12:01 PM           M IN OR V ICTIM                 BIJOU                    Y 'allw asrighttho
          6/4/2019        4:12:11 PM                BIJOU                  M INO R V ICTIM                    About
                                                                                                        Som eone stole m y
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          6/4/2019        4:12:29 PM           M IN OR V ICTIM                    BIJOU                  body that's what
                                                                                                         I've been doing
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                                                                                                           outw ho itwas
          6/4/2019        4                                                                            sm h you w on'tfind
                           :12:48 PM                  BIJO U               M W OR V ICTIM
                                                                                                                  CnA
          6/4/2019        4                                                                           Justhave to getback
                           :12:58 PM                  BIJO U               M IN OR V ICTIM             u and m ake m ore
          6/4/2019        4                                                                             Should've stayed
                           :13:08 PM                  BIJO U               M IN OR V ICTIM
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          6/4/2019        4:15:35 PM           M IN O R VICTIM                    BIJOU                      lknow
          6/4/2019        4                                                                             Im a m ake itbakk
                           :15:41 PM           M IN O R VICTIM                    BIJOU                       t
                                                                                                               oday
          6/4/2019        4                                                                            O fcourse he calling
                           :16:02 PM                  BIJO U               M IN OR V ICTIM                 itnow okay

                     ln the lastm essage,w hen BIJOU said lûhe,''she w asrefezring to the person calling

  the Uber,which w as found to be associated to H O REN STEIN .Continuing on June 4,2019,at

  4:17:45 PM ,B IJO U sent M IN O R V ICTIM a screenshot of an U ber heading tow ards M INO R

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  VICTIM 'S location at1735 Lincoln Street.A t4:18:02 PM ,BIJOU instructed M IN O R V ICTIM to

  ttW alk to Lincoln streetand federalhighw ay.''At4:23:33,M IN OR V ICTIM told BIJOU thatshe

  wasSûln the U bernow .''

          27.   Recordsfrom U berin responseto a subpoena show thatthe accountassociated with

  thatU ber ride is registered to ûûlerem iah Brom x''has H OREN STElN -9559 listed as the phone

  number associated with the account, and an emailaddress of goonclb@gmail.com. Law
  enforcem enthas identified this Uber account as belonging to H O REN STEIN .A s noted above,

  HO REN STE1N -9559 is linked to H OREN STEIN . A dditionally, HO REN STEIN 'S Facebook

  accountis show n w ith the display nam e astûlel'
                                                  m Brow n.''

          28.   M IN O R V ICTIM explained that BIJO U w ould text w ith a11 the clients on her

  TextN ow num berto setup the dates.This infonnation waspartially corroborated by infonnation

  received from TextN ow and otherinfonnation described below .

          29.   O ver50 sex advertisem ents listed 786-971-4696 asthe contactinform ation forthe

  advertisement,andseveralofthoseadvertisementsincludedimagesofM INOR VICTIM (someof
  thoseimageswerealso foundon MINOR VICTIM 'Scellphone).Theearliestadvertisementthat
  listed thephone num ber786-971-4696 w asposted on M ay 30,2019,and the latestadvertisem ent

  w as posted on June 5, 2019.A ccording to records received from TextN ow in response to a

  subpoena,786-971-4696wasregisteredtojro18825@gmai1.com from M ay 30,2019,toJuly 10,
  2019.

          30.   TextN ow     also provided inform ation associated w ith        em ail address

  goonclb@gmail.com.Asnoted above,thatemailaddressisregistered to HORENSTEIN with
  lrber. /kccording to records received frona Textlko:v            response           subpoena,

  goonclb@gmail.com wasassignedtelephonenumbers786-847-7158from M ay31,2019,toJune


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  5,2019 and 786-667-4054 from June 5,2019 to June20,2019.Both phone numberswere listed

  asthe contactinfonnation foradvertisem entson listcrawler.com and m egapersonals.com forblack

  females(notM INOR VICTIM ).Theadvertisementon listcrawler.com associatedwith telephone
  number786-847-7158on May3l,2019showedalocation ofahotel(Hotel2'')ûtll-lotel2j,1-95,
  M iam iA irport.''A snoted below ,H OR EN STEIN and BIJO U trafficked M IN O R V ICTIM forsex

  atHotel2 on June 1,20l9.

         31.    M IN O R V ICTIM stated that H OREN STEIN and BIJOU took herto prostitution

  datesata H otel 1,H otel2,and H otel3,a11in M iam i,Florida.Each ofthese locationsisdiscussed

  below .

         e. H otel1:M ay 29 - 30,2019

         32.    M IN OR V ICTIM stated thatBIJOU sentan U ber forherand broughtherto H otel

  1inM iamiShoreswhereHORENSTEIN,BIJOU,andSubject3werea1lwaitingforherinahotel
  room .A review ofH OREN STEIN 'SUberaccountshow sthaton M ay 29,2019,therew asan Uber

  ride from a location in M iam i shores to Hotel 1 located on Biscayne Boulevard,N orth M iam i,

  Florida.

                M IN O R V ICTIM stated that she w as instnzcted atH otel1 to go dow n to the lobby

  to m eetthe datesand bring them back up to the room .BIJO U and H OREN STEIN w ould eitherbe

  atw ork orin the room on the balcony while M IN O R V ICTIM w as engaging sexualconductwith

 the date.M INO R V ICTIM stated thatshe had approxim ately 10 datesperday atH otel1 and said

  she did over 100 dates in totalforBIJOU .

         34.    R ecords from Hotel 1 show that a kQJEREM IA H H OREN STEm ''checked in on

 M ay 29,2019,checked outon M ay 30,2019,and then again checked in on M ay 30,2019,and

 cheeked outon M ay 31,2019.
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         35.    A dvertisem ents w ere found ofM IN OR V ICTIM on listcraw ler.com forthe dates

  ofM ay 29,M ay 30,and M ay 31,w ith the location ofCtBiscayne''and l'Biscayne Blvd.''M any of

  these are advertisem ents w ere associated w ith telephone num bers 786-971-4696,305-203-7530,

  and 305-767-3265.

                One ad,posted on w w w .m egapersonals.com on M ay 30,2019,at 5:24 PM ,w as

  titled dtzGirlslpost''(lD 5027333).ItpicturedM INOR VICTIM andatleastthreeotherfemales.
  Thebody ofthead includedal1threephonenumbersreferencedabove(786-971-4696,305-203-
  7530,and 305-767-3265).Recordsfrom megapersonals/listcrawler show thatthe person who
  postedtheadcreatedan accountwiththeemailaddress,bijouracquelo3gg@ gmail.com.
                M IN OR V ICTIM 'S phone also show ed a connection to the w ifinetw ork w ith the

  nameofthehotel,ûtgllotel11NorthM iamiGuest''on M ay 30and31,2019.
            H otel2:M ay 31 - June 1,2019

        38.     Recordsreceived from Hotel2 nearthe M iam iA irportshow thaton M ay 31,2019,

 HORENSTEIN checkedinusingacreditcard in HOREN STEIN'Sname,HOREN STE1N-9559 as

 his phone num ber,the sam e address listed in H OREN STEIN 'SA pple and H O REN STElN -9559,

 and Sjayracks6@icloud.com''and tjoonclv@ gmail.com''as his emails (the Cj''and ltv''in
 tjoonclv@gmail.com''appearstohavebeen atypoandshouldhavereadttgoonclb@gmail.com'').
               Video surveillance from the check in show HORENSTEIN and BIJOU checking

 into H otel2 before w alking baek out to the parking lot.A few m inutes later, surveillance video

 shows H OREN STEIN and BIJOU w alking back into H otel2 w ith a white fem ale whose physical

 appearance isconsistentw ith thatofthe M IN OR V ICTIM .

        40.    Law enforcem ent also discovered an advertisem ent of M INO R VICTIM on

 listlzawler.com forJune 1,w ith the location of(tM IA Airport, gl-
                                                                  lotel2),Hialeah''associatedwith


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  telephone num ber 305-203-7530.A dditionally,a review ofM IN OR V ICTIM 'S phone showed a

  cormection to thewitinetwork in Hotel2'sname,Stgl-lotel21M eeting''on M ay 31,2019 and
  tlgchainhotelofHotel21'5onJune1,2019.OtheradvertisementsdatedM ay31,2019,thatdidnot
  include M IN OR V ICTIM butwere associated w ith telephone num ber 786-971-4696,w ere found

  showingthelocationasççgl-
                          lotel21,1-85,M iamiAirport.''
         g. H otel3:June 1-5,2019

         41.    M INO R V ICTIM stated that at H otel3,B IJO U and H O REN STEIN got into an

  argum ent.BIJOU spitin H OREN STEIN'Sface and H OREN STEIN punched BIJOU to w here her

  eye sw elled up and she couldn'
                                topen it.BIJO U called the copstelling them thatherboyfriend hit

  her atH otel3.

         42.    Ttecords frona llotel 3,located on Biscayne Blvd., M iam i Shores, show that a

  Suerem iah Horenstein''checked in on June 1,2019,and checked outon June 2,2019,and checked

  back in on June 2,2019,and checked back out on June 3,2019.H O REN STEIN provided the

  address and driver's license num ber listed on his records w ith Florida's Driver and V ehicle

  lnfonnation D atabase.H O REN STEIN paid cash forboth ofthe nights.

                On June 5,2019,at 12:45:45 A M ,H O REN STEIN ,using HO REN STE1N -9559,

 received a m essage from M IN OR V ICTIM and stated,(ûYou kan kom e in kid lan olm a phone no

 m ore.''At 1:04:36 AM ,M W OR V ICTIM sent HOREN STE1N -9559 the 8 selfie photographs

 referenced above,w hich included som e ofM IN OR V IC TIM 'Schestw ith hernipple exposed,close

 ups of her buttocks wearing only panties,and her genitalarea w earing only panties.At 1:20:14

 A M ,M INO R V ICTIM 'Sphone show sthatherphone connected to a w itinetw ork labeled ççl-lotel

  3.''M IN O R V ICTIM 'Sphone also show satleastone earlierconnection to thatsam e w ifion June

 4,2019 at 10:48:56 PM .
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          44.    Betw een 1:22:57 A M and 2:36:28 A M , H OR EN STElN -9559 and M IN OR

  V ICTIM 'Sphone called one another 11 tim es.

          45.    H OREN STEIN continued to m onitor the sex trafficking of M IN OR VICTIM .

  Continuing on June 5,at4:15:11A M ,H O REN STElN -9559 texted 786-971-4696.A snoted above,

  786-971-4696 isa TextN ow num berthatw aslisted on over50 sex advertisem ents,m any ofw hich

  advertised M IN OR V ICTIM .Records from TextN ow pursuantto a search w arrantshow thatthe

  content of H OR EN STEIN 'S m essage w as,ûtfix ya add it's not 12 anym ore.''The account user

  responded tûOk''at4:25:38 A M

          46.    A review of advertisem ents in the escort Sedion Of W w w .m egapersonals.com

  show s that there w as an ad posted on June 4 at 10:01 PM ,1D :5058074,under the title ICRED

  A LERT !!A vailable24/7,''w hich show s pidures of M IN OR V ICTIM .The description ofthe ad

  read,

          $50QV SPECIAL TILL 12am COME FUCK W HILE THISOFFER LASTSRed
          atY our Selwices R eady To M ake Your W ishes Com e true BBJ SPECIA L 100%
          RealPictures TightW etPussy lncalls/o utcalls O pen M inded M ention A nything 1
          H ave Great personality 786.971.4696 N o Police affiliation !!N OT SEN D IN G
          N EW N U D ES''

                 One of the pictures in this ad isofM INOR VICTIM ,wearing only panties and

 showing herbuttoeksand partofherbreast.In the background,thereisa picture fram e on the w all

 thathasawhitefrnme,aredmat(border),and apictureofabstractartthatappearstoincludea
 yellow tigure,a blue tish,and a red heal't,am ong other shapes.

          48.    This picture of M IN O R V ICTIM can be found on at least three separate ads in

 w ww .listcrawler.com ,a11posted on June 1 w ith the contactnum berof 305-203-7530. ltcan also

 be found on ad posted on w ww .listcraw ler.com on June 3 with the contact phone num ber of on




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  786-971-4696.And it can be found on three additionalads on w ww .listcraw ler.com posted on

  June 4with thecontactphone numberof786-971-4696.

              49.          H OREN STEIN is linked to otherprostitution ads that depict an unknown fem ale

  with thesam ewhite picture fram ein the background.Recordsfrom TextN ow forHO REN STEFN 'S

  emailaddress ûtgoonclb@ gmail.com''(registered to HORENSTEIN with Uber)show thatthe
  emailaddressisregisteredto thefollowing ads(a)onead (ID 33767600)posted on M ay 31at
  6:44PM ,which listedalocationofCûgl-lotel31,1-95,M iamiAimorq''andaphonenumberof786-
  847-7158, and (b) four ads with the same poste identification (5035958) on
  w ww .m egapersonals.com thatw ere posted on M ay 31,from 11:l8 A M to 4:36 PM ,w hich listed

  a location astdM iam i.''A llofthese adshad the sam ew hite picture fram e described above,butw ith

  an unknown fem ale being advertised.

                           Laterthatsameday(continuingonJune5),HORENSTEIN andM INOR VICTIM
  engaged in the follow ing textm essages:

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       6/5/2019               1:13:09 PM              H O REN STEIN                      M IN OR V ICTIM            u know u a bread
                                                                                                                    w ilm ershe ain't
       6/5/2019               1:13:12 PM              H O REN STEIN                      M IN OR V ICTIM                   Yes
                                                                                                                   D nm n she leftinna
       6/5/2019               1:13:32 PM             M IN OR V ICTIM                       H OR EN STEIN           m iddle ofthe night
                                                                                                                         again?
                                                                                                                  N o she stillhere sm h
                                                                                                                       justhardwhen
       6/5/2019               1:16:49 PM              H O REN STEIN                      M INO R V ICTIM           racquelleftm e with
                                                                                                                     no bread and shit
                                                                                                                           sm h
                                                                                                                    She m ade enough
       6/5/2019               1:17:15 PM             M IN OR V ICTIM                       H OR EN STEIN            bread foranother
                                                                                                                          room ?
       6/5/2019               1                                                                                        Sm th THIS
                               :17:24 PM              H O REN STEIN                      M INO R V ICTIM               M O RN IN G
       6/5/2019               1:17:28 PM             M IN OR V ICTIM                       H OREN STEIN               Like so y'allkan
                                                                                                                     stay anothernight

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         6/5/2019                            1:17:28 PM                          HORENSTEIN                                    M INOR VICTIM                                         butisallgood
         6/5/2019                            1:17:40 PM                          HORENSTEIN                                    M INOR VICTIM                                           W em oved
         6/5/2019                            1:17:42PM                          M INOR VICTIM                                     HORFN STEIN                                     Shejusmadeit?
         6/5/2019                            1:17:49 PM                          H OREN STEIN                                  M IN OR V ICTIM                                             Type shit
         6/5/2019                            1:18:00 PM                         M IN OR V ICTIM                                   H O REN STEIN                               gl-lotel31tohottype
                                                                                                                                                                                              shit
         6/5/2019                            1:18:09 PM                          H OREN STEIN                                  M IN OR V ICTIM                                             H ellyeah
         6/5/2019                            1:19:12 PM                         M IN OR V ICTIM                                 H O REN STEIN                                              Lm aooooo

                 51.              During the preceding textm essages,H OR EN STEIN told M IN O R V ICTIM that

  she earns nnoney and that she earns ncore naoney than another unidentified fem ale, w hen

  H OREN STEIN stated, tûu know u a bread w inner she ain't.'' H OR EN STEIN then expressed

  difficulties in having m oney because BIJOU lefthim ,asM INOR VICTIM had reported to law

  enforcementduringtheargumentdescribedabove,when HORENSTEIN stated,'justhardwhen
  racquel(BIJOUIleftmewithnobreadandshitsmh.''M INOR VICTIM andHORENSTEIN then
  talked aboutm aking money to renthotelrooms formore nights,when M INOR VICTIM stated,

  iûshe m ade enough bread for another room ?'' and li ike so y'all kan stay another night.''

  HOREN STEIN responded that he and the other unidentified female leftthe Hotel 3,when

  H OREN STEIN stated,ççW e m oved.''H OR EN STEIN w as probably explaining that Hotel3 was

  tooriskytoconductdates,whenhestated,tû-l-ypeshit,''M INOR VICTIM respondedSûll-
                                                                                lotel3)to
  hottypeshit,''andHORENSTEIN agreed(tûHellyeah'').
                                  HORENSTEIN further m aintained the sex trafficking of M INOR VICTIM ,as

  dem onstrated in thetextm essagesbelow :
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          6/5/2019                           2:51:59 PM                          H O N STEIN                                   M INO R V ICTIM                                  Y ou m aking bread
          6/5/2019                           2:52:17 PM                         M IN OR V ICTIM                                 H O N STEIN                                             Eh
          6/5/2019                           2                                                                                                                                   Damn why not9   .
                                              :52:32 PM                          HO              N STEIN                       M IN OR V ICTIM                                      L ocat.lon?
          6/5/2019                           2:52:32 PM                         M INOR VICTIM                                     HO                NSTEIN                             Bad.
          6/5/2019                           2                                                                                                                                   D am n u ain'tget
                                              :56:13 PM                           HO             N STEIN                       M IN OR V ICTIM                                                none 9
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     6/5/2019       2:56:20PM       HORENSTEIN         M INOR VICTIM       Orujustsayingthat
                                                                                    lol
                                                                           Idid bc it's m e Buh
                                                                            likeifm ostother
     6/5/2019       2:56:54 PM     M INOR VICTIM        HOREN STEIN           fem alesdid it
                                                                           wouldn'tm ake A lot
                                                                                 ofbread
     6/5/2019       2:57:27 PM      H OREN STEIN       M IN OR V ICTIM        Lo1lfeelyou

                                                                           G etto you bag m an
     6/5/2019       3:00:54 PM      HOREN STEIN        M INOR VICTIM       anddo shittheright
                                                                            w ay m ake a chim e
                                                                               bank account
     6/5/2019       3:01:10 PM    M IN OR V ICTIM       H OREN STEIN              M aybe
     6/5/2019       3:01:58 PM     HOREN STEIN         M INOR V ICTIM              Okay

                In the preceding m essages, H OR EN STEIN checked on M IN OR V ICTIM to

  determ ine whethershe wasmaking m oney,when HOREN STEIN asked, ltYou makingbreadg?''

 M INOR V ICTIM explained thatshew asm aking m oney,although the loeation fo<the dateswas

 bad.HOREN STEIN then attempted to explain to M INOR VICTIM how to m aintain herm oney,

 when hetold M IN OR VICTIM to çdm ake achime barlk account.''

                Law enforcement also discovered an advertisement of M INOR VICTIM on

 www.listcrawler.com dated June 2,2019,with the location ofûSBISCAYNE M IAM ISHORES

 (outeallsavailablel''associatedwithtelephonenumber786-971-4696.Hotel3islocatedinM iami
 Shoreson Biscayne Blvd.

        55.     The lastrecorded com m unication on M IN OR V ICTIM 'S phone between M IN OR

 VICTIM and eitherHOREN STEIN orBIJOU wason June 7,2019, at10:34:40AM ,which wasa

 textm essage from H OREN STEIN to M IN O R V ICTIM .
                                               î

        h. A rrestofH O R EN STEIN and BIJO U

         56. On A ugust 15, 2019,m em bers of the CEH TTF, ading in an undercover (UC)

 capacity,contacted a com m ercialsex advertisem enton w w w .listcrawler.com in FortLauderdale,


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  Florida,believed to be associated w ith H O REN STEIN and BIJOU .The ad w as dated Thursday,

  August 15,2019,at06:40 PM ,and read,ûtW hos up and wantsto busta FAT NUT''atphone

  num ber954-251-0427.

                 TheUC negotiatedapriceforsexualservicesviatext($300forsexwithtwogirls)
  and w as directed to H otel4,FortLauderdale,Florida.

          58. Approxim ately onehourpriorto theUC'sarrival,mem bersoftheCEHTTF setup

  surveillance along the perim eter of the hoteland w itnessed individuals fitting the description of

  HOREN STEIN and BIJOU walking outsideon Hotel4property.TheUC anived atapproximately

  8:20 PM and w as instructed to com e to room 142. A s the U C traveled tow ards room 142, 1aw

  enforcem ent observed H O REN STEm on the second floor overlooking the U C . The U C w as

  invited into room 142 for the date.As the door opened,the U C w as im m ediately able to observe

  two young looking,naked fem alesstanding in theroom . One ofthese femaleswasidentified as

  BIJOU ,and the otherw as an 18 yearold fem ale.

                Law enforcem entdetained H OREN STEIN ,who w asw alking around the com m on

  areasofthehotelon second floor.

          60. Furtherinvestigationrevealed thatroom 142wasrentedinHORENSTEIN 'Snam e.

          61. U pon reading H O REN STEIN his M iranda rights,H O REN STEIN stated that he

 w anted to talk to a fam ily m em ber, w ho w as a private investigator and not an attorney.

 Notwithstanding thatH ORENSTEIN 'S fam ily m ember was not an attorney, law enforcem ent

  attem pted to end the interview ,butH OR EN STEIN stated he w anted to talk to 1aw enforcem ent.

 Law enforcem ent asked HORESNTEIN whether he was sure thathe wanted to talk with 1aw

 enforcem entw ithoutan attorney,and H OREN STEIN agreed.
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          62. In an audio and video recorded interview,HOREN STEIN adm itted thatheknew

  M INOR VICTIM astûbreadwinner.''HOREN STEIN stated thathe asked M m OR VICTIM her

  age,and M IN OR V ICTIM said û(18.''H OREN STEIN stated thathe asked M IN O R V ICTIM for

  identitk ation,butM INOR VICTIM neverprovided it. HO REN STEIN adm itted to renting room s

  for M INO R V ICTIM to engage in sexual condud w ith others. H e further adm itted to driving

  M INOR VICTIM to outcalls to engage in sexualcondud with others. He said that M IN O R

  VICTIM made about$4,000.He explained thathe kept50 percentofthe eam ings,butthathe
  sharedthatmoney with BIJOU.HefurtheradmittedthatHORENSTElN -9559 ishisphonenum ber

  and registered to hisalias,StsealzBrow n.''

          63. BIJOU waived herM iranda rights orally and in writing. In an audio and video

 recorded interview,law enforcem entshowed BIJOU apidureofM INOR VICTIM withoutsaying

 anything aboutM INOR VICTIM 'Sage,and BIJOU respondedthatshedidnotknow thatM INOR

 VICTIM was13 yearsold.BIJOU furtherstated thatM INOR VICTIM did notactyotm g. BIJO U

 stated that since she is not 21 years old,H O REN STEIN w ould rent the room s. A ccording to

 BIJOU,HOREN STEIN'Sonly involvem entwasrenting roomsforBIJOU and othergirlsso that

 BIJOU and theothergirlscould engagein sexualcondud with others.BIJOU adm itted to taking

 picturesofM INOR VICTIM fortheads,sheadm itted toposting theads, and she furtheradm itted

 to conducting the chats with the interested persons.BIJOU further referred to herself as the

 ûtmadam .''ln my training and experience,am adam isthefemaleversion ofapimp.

                                         C O N CLU SIO N

                Based on the foregoing facts and information,Irespectfully submitthatthere is

 probable eauseto believe thatfrom on oraboutM ay 13,2019,to June 7, 2019,in M imni-D ade

 County,in the Southern D istrict of Florida,the defendants, JEREM IA H H OREN STEIN ,a/k/a


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  ûçleremiah Brown,''a/k/a sllerm Brown,''and a/lt/a iûsean Browlf''and RACQUEL LAVETTE
  BIJOU did comm it sex trafficking of children, in violation of Title 18,United States Code,

  Sections1591(a)(1),(b)(l),(b)(2)and(c).
        FU R TH ER Y O U R AFFIAN T SAY ETH N A U G H T .




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                                                         FederalBureau oflnvestigation


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 H onorable Lauren F. '
 United StatesM agistrateJudge




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oEpnExoAx'r:JEREM IAH HORENSTEIN, alva ''
                                        Jerem iah Brownj'' etc.

                  Pre-TrialDetention
                 (PersonalSurety)(CorporateSurety)(Cash)(Pre--frialDetention)




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                                                         AUSA: DanlelCervantes



LastKnown Address: 13944 NE 2d Avenue

                       M iam i,Florida 33161



W hatFacility-
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Agentts):              S.A.Alex.G.Loff,FBI
                       (FB1) (SECRET SERVICE) (DEA) (lRS) (1CE) (OTHER)
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DEFENDAXT:RACQ UEL LAVETTE BIJO U

                 Pre-TrialDetention
             (PersonalSurety)(CorporateSurety)(Cash)(Pre-TrialDetention)




                                               By:
                                                      A US : DanielCervantes




LastKnown A ddress: 16300 N .M iam iAvenue

                     M iam i,Florida 33169



W hatFacility-
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Agentts):             S.A.Alex.G.Loff,FBI
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